        Case 2:12-cr-00944-RB             Document 235           Filed 04/10/18        Page 1 of 14




                          IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

        Plaintiff,

v.                                                                           No. CR 12-0944 RB

SOPHIA MONIQUE ZAYAS,

        Defendant.

                             MEMORANDUM OPINION AND ORDER

        This matter is before the Court on Ms. Zayas’s Motion to Reconsider Motion to

Withdraw Guilty Plea, filed on December 1, 2017. (Doc. 220.) The Court held hearings on this

matter on March 26, 2018, and April 3, 2018. (See Docs. 229; 234.) Having considered the oral

argument, briefs, and relevant law, the Court will deny the Motion.

I.      Background 1

        “On October 22, 2007, Annalicia Zayas, [Mr. and] Ms. Zayas’s daughter, died just two

months after she was born.” (Doc. 201 at 1 (citing Presentence Report (PSR) at 3).) “Annalicia’s

autopsy showed she suffered multiple skull fractures, hemorrhages, and scalp contusions two to

three hours before she died.” (Id. (citing PSR at 4).) These were in addition to multiple other

injuries, all in various stages of healing, that Annalicia had sustained over her life. (Id. at 1–2;

see also Doc. 223-5.) Both Mr. and Ms. Zayas were arrested in 2012; Ms. Zayas pleaded guilty

to an Information on February 24, 2014. (See Docs. 5; 6; 150; 152; 154.)

        Ms. Zayas has contemplated withdrawing her guilty plea since September 2014. “In

September 2014, Ms. Zayas wrote the Court a letter, expressing her desire to withdraw her guilty


1
 The Court set out the factual background of this case in its February 8, 2017 Memorandum Opinion and Order (the
“February 2017 Opinion”), and incorporates it here by reference. (Doc. 201 at 1–4.)
       Case 2:12-cr-00944-RB         Document 235        Filed 04/10/18      Page 2 of 14




plea and remove” her then-counsel. (Doc. 201 at 4.) The Court removed her counsel and

“Magistrate Judge Lynch assigned Carlos Ibarra to represent Ms. Zayas.” (Id. (citing Doc. 161);

see also Docs. 159–60.) The Court later held a status conference, where “Ms. Zayas expressed

issues with the PSR and wanted to meet with Dr. [Harry] Wilson” (Ms. Zayas’s medical expert)

“regarding the facts in” the PSR. (See id. at 2, 4.) “Ms. Zayas then filed a [pro se] Motion to

Withdraw Plea of Guilty” in November 2015 (see id. at 4 (citing Doc. 166)), “and Mr. Ibarra

filed a Motion to Withdraw as Attorney” (id. (citing Doc. 167)). Ms. Zayas filed a Supplemental

Motion to Withdraw Plea of Guilty in October 2016. (Id. (citing Doc. 188).) During a hearing on

the motions, the Court heard from Mr. Ibarra that he and Ms. Zayas were at odds over her desire

to withdraw her guilty plea. (See Doc. 189 at 2:20–3:18.) The Court granted Mr. Ibarra’s Motion

to Withdraw as Attorney and reserved judgment on Ms. Zayas’s Motion to Withdraw Plea of

Guilty so that her new attorney could look at the matter. (Id. at 22:5–24:5.) Later in October

2016, Ms. Zayas filed an Amended Motion to Withdraw Plea of Guilty or in the Alternative,

Motion for Reconsideration. (Doc. 192.) The Court denied each of Ms. Zayas’s motions to

withdraw her plea in its February 2017 Opinion. (Doc. 201 at 4, 17–18 (denying Docs. 166-1,

188, 192).)

        On January 29, 2017, Ms. Zayas’s codefendant and husband, Mr. Peter Zayas, sent an

unsworn letter to the Court, in which he attempted to explain and take responsibility for three

injuries found on the couple’s daughter (the skull, wrist, and rib fractures). (See Doc. 206 at 7.)

Mr. Zayas concluded that he “could no longer go on continuing with a lie knowing that is, [sic]

[his] wife did not do this.” (Id.)

        Mr. Zayas’s attorney requested that Mr. Zayas undergo a psychological examination,

after which Mr. Zayas “agreed to an interview with the attorneys for” both the government and



                                                2
       Case 2:12-cr-00944-RB         Document 235        Filed 04/10/18      Page 3 of 14




Ms. Zayas. (See Doc. 215 at 1; see also Doc. 213 at 19:19–22:19.) Counsel for the parties met

with Mr. Zayas after his psychological examination. (See Doc. 216 at 3.) Mr. Zayas refused to

share the examination results, and he refused to provide any testimony on the substance of his

letter when questioned by counsel for the United States. (See id.)

       Ms. Zayas then moved for an evidentiary hearing, seeking to “discover and develop the

exculpatory evidence” from Mr. Zayas. (Doc. 215 at 1.) During a hearing on her motion, Mr.

Zayas’s counsel stated that Mr. Zayas was willing to allow counsel for Ms. Zayas “to interview

him in the presence of the Government.” (Doc. 219 at 2.) “The Court directed the parties to

record the interview” and denied Ms. Zayas’s motion for an evidentiary hearing as moot. (Id.

(denying Doc. 215).)

       The parties interviewed Mr. Zayas on November 16, 2017. (See Doc. 220 at 1; 223 at 4;

see also Doc. 223-3 (DVD of Nov. 16, 2017 Interview).) Neither party has provided the Court

with a transcript of that interview, although the Government did submit DVD files of the

interview with its response. (See Doc. 223-3.) The Government also submitted DVD files of Mr.

Zayas’s April 24, 2012 interview (see Doc. 223-2), which the Government argues is virtually

identical to Mr. Zayas’s November 16, 2017 interview. (See Doc. 223 at 5–6.)

       Ms. Zayas now moves the Court to reconsider its February 2017 Opinion. (See Doc. 220.)

II.    Legal Standards

       A.      Motion to Reconsider

       “Motions to reconsider are proper in criminal cases even though the Federal Rules of

Criminal Procedure do not specifically provide for them.” United States v. Christy, 739 F.3d 534,

539 (10th Cir. 2014) (citations omitted). “A motion to reconsider may be granted when the court

has misapprehended the facts, a party’s position, or the law.” Id. (citing Servants of Paraclete v.



                                                3
       Case 2:12-cr-00944-RB          Document 235         Filed 04/10/18      Page 4 of 14




Does, 204 F.3d 1005, 1012 (10th Cir. 2000)). “Specific grounds include: ‘(1) an intervening

change in the controlling law, (2) new evidence previously unavailable, and (3) the need to

correct clear error or prevent manifest injustice.’” Id. (quoting Servants of Paraclete, 204 F.3d at

1012 (internal citation omitted)). “A motion to reconsider should not be used to revisit issues

already addressed or advance arguments that could have been raised earlier.” Id. (citing Servants

of Paraclete, 204 F.3d at 1012).

       B.      Motion to Withdraw Guilty Plea

       Pursuant to Rule 11(d)(2)(B), “a defendant may withdraw a plea of guilty [if] . . . the

defendant can show a fair and just reason for requesting the withdrawal.” A defendant

proceeding under Rule 11(d)(2)(B) does not have an absolute right to withdraw a guilty plea.

United States v. Rhodes, 913 F.2d 839, 845 (10th Cir. 1990). “Although a motion to withdraw a

plea prior to sentencing should be ‘freely allowed,’ [the appellate court] will not reverse a district

court’s decision unless the defendant can show that the court acted ‘unjustly or unfairly.’” United

States v. Hamilton, 510 F.3d 1209, 1213–14 (10th Cir. 2007) (quotation omitted). The decision

of whether to permit withdrawal of a plea “always and ultimately lies within the sound discretion

of the district court to determine on a case by case basis . . . .” United States v. Soto, 660 F.3d

1264, 1267 (10th Cir. 2011) (quotation marks and citations omitted).

       The Tenth Circuit analyzes seven factors when considering a motion to withdraw a plea:

       (1) whether the defendant has asserted her innocence,
       (2) whether the plea was knowing and voluntary,
       (3) whether defendant was assisted by counsel,
       (4) whether the defendant delayed filing her motion and, if so, why,
       (5) whether withdrawal would prejudice the government,
       (6) whether withdrawal would substantially inconvenience the court, and
       (7) whether withdrawal would waste judicial resources.




                                                  4
        Case 2:12-cr-00944-RB                Document 235            Filed 04/10/18          Page 5 of 14




Hamilton, 510 F.3d at 1214 (quotation omitted). Among the factors, the most important are

whether the defendant asserted innocence, the validity of the plea, and the effectiveness of

counsel. Id. at 1214–17. If the defendant cannot meet the burden to prove these factors, then the

Court need not address the remaining factors. United States v. Byrum, 567 F.3d 1255, 1265 (10th

Cir. 2009). The Tenth Circuit has suggested an additional factor: “the likelihood of conviction.”

United States v. Carr, 80 F.3d 413, 421 n.5 (10th Cir. 1996).

III.     Analysis

         A.       Mr. Zayas’s November 2017 testimony is not “new evidence.”

         Ms. Zayas seeks reconsideration based on allegedly new evidence, that is, Mr. Zayas’s

November 16, 2017 interview. (See Doc. 220.) While Ms. Zayas fails to cite any portion of the

interview, 2 the Court understands that she believes this interview (1) contributes to her assertion

of innocence and (2) supports her argument that her “plea was not supported by a factual basis,

or adequately supported by available evidence.” (Id. at 3.)

         As the Government demonstrates, however, Mr. Zayas’s November 2017 testimony adds

little to the interview he gave FBI agents in April 2012. (See Doc. 223.) In both the April 2012

and November 2017 interviews, Mr. Zayas: (1) “claims sole responsibility for causing the

injuries reflected in the victim’s autopsy” (id. at 5 (citing Doc. 223-2, File 3, 3 at 32:00; Doc. 223-

3, File 2, at 12:30)); (2) “speculates that the victim’s broken ribs must have occurred after he

became frustrated and handled the victim roughly” (id. (citing Doc. 223-2, File 3, at 12:53; Doc.

223-3, File 1, at 14:30)); (3) “speculates that the circular lesions found on the victim’s back must


2
  Interestingly, while Ms. Zayas states in her Motion that she had not obtained a copy of the November 16, 2017
interview at the time she filed the Motion, she did have a copy of the interview when she filed her Reply, yet she
failed to cite any piece of the interview to buttress her arguments or in rebuttal to the Government’s response in her
Reply brief. (Doc. 228.)
3
  Doc. 223-2 contains one video recording of Mr. Zayas’s April 2012 interview, and the recording is split into six
files. Doc. 223-3 contains one video recording of Mr. Zayas’s November 2017 interview, and the recording is split
into two files.

                                                           5
       Case 2:12-cr-00944-RB           Document 235         Filed 04/10/18       Page 6 of 14




have come from an incident when he grabbed the victim too tightly on the day of her death” (id.

at 5–6 (citing Doc. 223-2, File 3, at 15:45; Doc. 223-3, File 2, at 7:00)); and (4) “speculates that

the victim’s skull fracture must have come from an incident when he struck the victim in the

back of the head approximately a week before the victim’s death” (id. at 6 (citing Doc. 223-2,

File 3, at 28:50, File 4, at 26:55, File 5, at 50:45; Doc. 223-3, File 1, at 42:30)).

        Ms. Zayas had absolutely no response to the Government’s assertion that Mr. Zayas’s

interviews are substantially similar. The Court finds that the November 2017 is not “new

evidence” and is an insufficient basis for the Court to reconsider its February 2017 Opinion.

        B.      Even if Ms. Zayas could demonstrate grounds for the Court to reconsider its
                February 2017 Opinion, Ms. Zayas has not established a fair and just reason
                to withdraw her guilty plea.

        Were the Court to find that a motion to reconsider was appropriate, Ms. Zayas would

need to show a “fair and just reason for requesting the withdrawal” of her guilty plea. Fed. R.

Crim. P. 11(d)(2)(B). Ms. Zayas offers two reasons in support of her motion, neither of which

pass muster.

                1.      Ms. Zayas has not asserted a credible claim of legal innocence.

        Relevant to the first Hamilton factor, Ms. Zayas asserts that Mr. Zayas’s interview

supports her assertion of innocence. See Hamilton, 510 F.3d at 1214–15. Ms. Zayas argues that

Mr. Zayas has taken “full responsibility for the injuries to his daughter” and “related that Ms.

Zayas did not witness these events.” (Doc. 220 at 2.) What stands out to the Court, however, is

what Mr. Zayas’s interviews do not clear up.

        For example, the attorney for the Government, Ms. Maria Armijo, states that Annalicia’s

head injury would have required a significant amount of force, and that Annalicia would not

have been acting normally after the head injury. (See Doc. 223-3, File 2 at 16:00 (discussing the



                                                   6
       Case 2:12-cr-00944-RB          Document 235         Filed 04/10/18      Page 7 of 14




doctor’s testimony at a state Children, Youth and Families Department hearing regarding

changes in behavior after such a head injury).) Mr. Zayas stated, though, that Annalicia lived

another week after the only head injury he can recall, when he hit the back of her head, and she

was fine after he hit her. (Doc. 223-3, File 1 at 43:30 (describing the way he hit her as “kind of

like getting her to go back to sleep, but obviously in a more forceful way because she sustained

fractures to the back of the head, supposedly”), 45:10 (stating that this happened a week or more

before her death), 45:35 (stating that after he hit her in the back of the head, she cried but did not

throw up, and he remembers that she ate the next day), 46:05 (stating her behavior did not

change).)

       Mr. Zayas also discussed Ms. Zayas’s binge drinking at length in both interviews. (See

Docs. 223-3, File 1 at 29:15, 34:20, 35:20 (admitting Ms. Zayas was binge drinking at this time),

13:55; 223-2, File 2 at 35:35).) In 2012, Mr. Zayas specifically said that Ms. Zayas was

incapacitated when she drank, and there was no way she could take care of children while

drinking. (See, e.g., Doc. 223-2, File 2 at 43:20 (“there’s no way she could take care of a child”),

44:05 (“when Sophie drank, she binged”), 44:50 (explaining that he had to feed his wife and take

her to the bathroom when she drank).) He acknowledged, however, that Ms. Zayas often cared

for the children while he was working. (See Doc. 223-3, File 1 at 36:10, 37:20.) In the 2017

interview, Ms. Armijo pointed out that Mr. Zayas had no way of knowing whether Ms. Zayas

harmed Annalicia when he was not at home. (See Doc. 223-3, File 2 at 12:45 (admitting that Ms.

Zayas had opportunities to hurt Annalicia), 20:40 (admitting he does not know what Ms. Zayas

did when he was not with her), 20:20 (acknowledging he was not with his baby the whole time).)

There is also evidence that agents found vomit on the baby’s onesie and in her bassinette that

contained alcohol and Ms. Zayas’s DNA. (Doc. 223-2, File 4 at 24:10.)



                                                  7
        Case 2:12-cr-00944-RB               Document 235            Filed 04/10/18         Page 8 of 14




         Finally, Mr. Zayas cannot explain the circular lesions on Annalicia’s body. The autopsy

results conclude these lesions are consistent with cigarette burns, but Mr. Zayas denies burning

her. (See Doc. 223-3, File 2 at 7:05 (stating that he believes the lesions are from his grip on the

day she died), 7:40 (Ms. Armijo said that the lesions showed healing, so could not have occurred

the day she died); Doc. 223-2, File 2 at 59:20 (Mr. Zayas stated that he does not believe they

were cigarette burns, “maybe my prints”); Doc. 223-5 at 7.) Ms. Zayas’s medical expert, Dr.

Wilson, has theorized that perhaps the lesions were due to life-saving measures medical

personnel performed on Annalicia on the day of her death. 4 The autopsy results, though, show

that the lesions were in “various stages of healing[, which] make these injuries fit with non-

accidental trauma [and] . . . child abuse.” (Doc. 223-5 at 3, 7.) Ms. Zayas, as the baby’s “primary

caretaker,” (see Doc. 201 at 15 (citing (Doc. 189 at 8:25–9:7, 10:8–23)), would have seen these

injuries, yet she failed to act on them. And regardless of Dr. Wilson’s theory regarding the

lesions, he “agreed that [Annalicia] was a victim of battered child syndrome [and] child abuse . .

. .” (Id. at 10 (quoting Doc. 172 at 19).)

         After listening to these two interviews and considering the Government’s proffer at the

February 2, 2016 hearing, the Court finds that Mr. Zayas’s November 2017 interview is both

substantially similar to his April 2012 interview and does not support a credible assertion of

innocence. See Hamilton, 510 F.3d at 1214 (noting that “although the assertion of legal

innocence may satisfy this factor in some instances, the mere assertion of a legal defense is

insufficient; the defendant must present a credible claim of legal innocence”) (citing United

States v. Cray, 47 F.3d 1203, 1209 (D.C. Cir. 1995) (holding that a defendant “must



4
  Both Ms. Armijo and Ms. Stillinger (attorney for Ms. Zayas) discussed the dispute regarding the circular lesions at
the April 3, 2018 hearing on this Motion. At the time of this Opinion, the transcript from that hearing has not yet
been filed.

                                                          8
       Case 2:12-cr-00944-RB         Document 235       Filed 04/10/18      Page 9 of 14




affirmatively advance an objectively reasonable argument that he is innocent”); United States v.

Hickok, 907 F.2d 983, 985 n.2 (10th Cir. 1990) (“[T]he assertion of a defendant’s subjective

belief in his own innocence does not mandate allowing him to withdraw his plea of guilty.”

(quotation and alteration omitted)). Even accepting as true Dr. Wilson’s theory regarding the

circular lesions, the Court finds that there is evidence sufficient to show that Ms. Zayas

recklessly disregarded the extensive injuries Annalicia sustained throughout her life—whether

she caused the injuries herself when caring for Annalicia while inebriated, or whether she

permitted Annalicia to be placed in a situation where Mr. Zayas was injuring her.

               2.     Ms. Zayas’s plea was knowing and voluntary and has a sufficient
                      factual basis.

       Ms. Zayas’s second argument touches on whether her plea was knowing and voluntary.

Hamilton, 510 F.3d at 1214. While the Court has already found that there was a sufficient factual

basis for Ms. Zayas’s plea and that her plea was knowing and voluntary (see Doc. 201 at 12–17),

out of an abundance of caution the Court requested additional briefing on whether Ms. Zayas’s

Motion to Reconsider had any merit in light of United States v. Carillo, 860 F.3d 1293 (2017).

(See Doc. 229.) As explained in the February 2017 Opinion, the twist in this case comes from the

fact that at the time the Court took Ms. Zayas’s plea, “New Mexico case law interpreted the

legislative intent to be that the ‘concept of criminal negligence, not recklessness, [was] the

standard for negligent child abuse.” (Doc. 201 at 13 (quoting State v. Schoonmaker, 176 P.3d

1105, 1117 (N.M. 2008)).) After the Court took Ms. Zayas’s plea in 2014, the New Mexico

Supreme Court “overruled Schoonmaker and clarified that the statute conveys recklessness as the

applicable mens rea.” (Id. (citing State v. Consaul, 332 P.3d 850, 858 (N.M. 2014)).)

       Ms. Zayas contends that her “repeated statement that she should have known about the

injuries to her daughter”—a phrase traditionally associated with the concept of negligence—does

                                                9
      Case 2:12-cr-00944-RB          Document 235        Filed 04/10/18      Page 10 of 14




not and cannot provide the factual basis for her plea.” (Doc. 233 at 4 (emphasis added).) In

deciding whether there is a sufficient factual basis for a plea pursuant to Rule 11(b)(3), the Court

is not limited to Ms. Zayas’s statements at the plea hearing. “A district court may look to

evidence submitted after a guilty plea has been accepted to determine whether a factual basis for

the plea continues to exist . . . .” United States v. Landeros-Lopez, 615 F.3d 1260, 1262–63 (10th

Cir. 2010) (citation omitted) (discussing Fed. R. Crim. P. 11(b)(3)). Thus, as the Court explained

above and in its February 2017 Opinion (see Doc. 201 at 15–16), even considering the evidence

in Ms. Zayas’s favor, there is still sufficient evidence in the record (i.e., the Government’s

proffer in the February 2, 2016 Hearing (Doc. 189), as well as Mr. Zayas’s April 2012 and

November 2017 interviews (Docs. 223-2; 223-3)) that Ms. Zayas “actually committed the

offense” of child abuse resulting in great bodily harm in violation of N.M. Stat. Ann. § 30-6-

1(D)(1)–(2). See Landeros-Lopez, 615 F.3d at 1263 (quotation and citation omitted).

       In finding whether Ms. Zayas’s plea was knowing and voluntary pursuant to Rule

11(b)(1)(G), the Court may examine her statements at the plea hearing along with the language

used in the Information and in her Plea Agreement. See, e.g., United States v. Ferrel, 603 F.3d

758, 763 (10th Cir. 2010); Carillo, 860 F.3d at 1303; see also Spiridigliozzi v. United States, 117

F. App’x 385, 391 (6th Cir. 2004) (noting that “when assessing whether a district court

determined correctly that the defendant understood the elements of the crimes with which he is

charged, pursuant to Rule 11(b)(1)(G),” the appellate court examines “the plea colloquy and

what came before”) (citation omitted). Here, Ms. Zayas focuses on her statements at the plea

hearing, which she believes cast doubt on whether she sufficiently understood the required mens

rea element of the crime as later clarified in Consaul, 332 P.3d 850. At the hearing, Ms. Zayas

repeatedly said that she “should have known” about Annalicia’s injuries, which she contends



                                                10
      Case 2:12-cr-00944-RB         Document 235        Filed 04/10/18     Page 11 of 14




“amount to no more than a parent’s lament that she should somehow have prevented the harm to

her daughter.” (Doc. 233 at 4.) Ms. Zayas’s statements at the plea hearing, taken alone, do give

the Court pause. Yet, the Court is not limited to considering those statements in a vacuum.

       At her plea hearing, Ms. Zayas acknowledged that she had read the Plea Agreement,

which affirms in relevant part:

       On or about August 16, 2007 through October 22, 2007, I caused or permitted
       Annalicia Zayas, my daughter who was less than 12 years of age, to be placed
       in a situation which endangered her life or health or tortured, cruelly
       confined or cruelly punished her.
       I knew or should have known that my conduct created a substantial and
       foreseeable risk that my daughter, Annalicia Zayas, would be physically harmed
       or killed. I disregarded that risk, and I was wholly indifferent to the
       consequences of the conduct and to the welfare and safety of my daughter,
       Annalicia Zayas.
       My actions resulted in great bodily harm to Annalicia.
       Specifically, as a result of my actions, my daughter sustained the following
       injuries between August 16, 2007 through October 22, 2007, that constitute
       great bodily harm:
       (1) Posterior transverse skull fractures;
       (2) Rib fractures on at least two occasions; and
       (3) Radius and Ulna fractures.

(Doc. 152 at 3–4 (emphasis added); see also Doc. 172 at 5:16–6:10.) The bolded wording

mirrors that contained in New Mexico’s current Uniform Jury Instruction (UJI) for reckless child

abuse pursuant to § 30-6-1(D):

       For you to find __________ (name of defendant) guilty of child abuse resulting in
       great bodily harm, [as charged in Count __________ ], the state must prove to
       your satisfaction beyond a reasonable doubt each of the following elements of the
       crime:
       1. __________ (name of defendant) __________ (describe conduct or course of
       conduct alleged to have been child abuse).
       2. By engaging in the conduct described in Paragraph 1, __________ (name of
       defendant) [caused] [or] [permitted] __________ (name of child)
       [to be placed in a situation that endangered the life or health of __________
       (name of child);]
       [OR] . . .
       [to be [tortured] [or] [cruelly confined] [or] [cruelly punished];]



                                               11
      Case 2:12-cr-00944-RB         Document 235        Filed 04/10/18     Page 12 of 14




       3. __________ (name of defendant) showed a reckless disregard [without
       justification] for the safety or health of __________ (name of child). To find that
       __________ (name of defendant) showed a reckless disregard, you must find that
       __________ (name of defendant)’s conduct was more than merely negligent or
       careless. Rather, you must find that __________ (name of defendant) [caused]
       [or] [permitted] a substantial and unjustifiable risk of serious harm to the
       safety or health of __________ (name of child). A substantial and unjustifiable
       risk is one that any law-abiding person would recognize under similar
       circumstances and that would cause any law-abiding person to behave differently
       than __________ (name of defendant) out of concern for the safety or health of
       __________ (name of child);
       [4. __________ (name of defendant) was a parent, guardian or custodian of the
       child, or __________ (name of defendant) had accepted responsibility for the
       child’s welfare;]
       5. __________ (name of defendant)’s conduct resulted in great bodily harm to
       __________ (name of child);
       6. __________ (name of child) was under the age of eighteen (18);
       7. This happened in New Mexico on or about the __________ day of
       __________, ___.

UJI 14-615 (emphasis added).

       While it is true that the Plea Agreement also contains the confusing “knew or should have

known” language that the New Mexico Supreme Court has disavowed (see Doc. 152 at 3), it was

supplemental to the remaining language in the Plea Agreement, which clearly indicates a

recklessness mens rea and was sufficient to put Ms. Zayas on notice that she was also pleading

guilty to acting recklessly. Accordingly, despite the later clarification regarding the mens rea

element of the charged crime, and even with Ms. Zayas’s statements at her plea hearing that

seemed to stop short at admitting negligence, the Court finds that the language in the Plea

Agreement was sufficient to apprise Ms. Zayas of all elements of the charged crime, including

recklessness. Ms. Zayas’s plea was knowing and voluntary.

               3.     The balance of the Hamilton and Carr factors weighs against allowing
                      Ms. Zayas to withdraw her guilty plea.

       Ms. Zayas did not offer any arguments regarding the remaining Hamilton and Carr

factors, and the Court concludes that its findings in the February 2017 Opinion stand.

                                               12
      Case 2:12-cr-00944-RB          Document 235        Filed 04/10/18     Page 13 of 14




Defendant’s Assistance of Counsel

       “Ms. Zayas was assisted by ‘professional, competent’” counsel. (Doc. 201 at 17 & 9–11.)

Defendant Delayed Filing Her Motion

       After she entered her guilty plea, Ms. Zayas waited seven months to express any desire to

the Court regarding a withdrawal of her plea, and she did not file a formal motion to withdraw

her plea until 19 months after her plea hearing. (See Doc. 201 at 4 (discussing September 2014

letter and Doc. 166).) The Tenth Circuit has found that even a three-month delay in filing a

motion to withdraw a guilty plea represents an “extended” delay “and may suggest manipulation

by the defendant.” See Carr, 80 F.3d at 420.

Withdrawal Would Prejudice the Government

       Ms. Zayas’s case has been pending in this Court for almost six years. (See Docs. 1, 4

(April 24, 2012 Indictment and Arrest Warrant).) Even more distressing to the Court is the fact

that it has been 11 years since Annalicia’s death. The Government would have significant trouble

locating the witnesses, much less questioning them on events that happened 11 years ago. The

prejudice to the Government here would be substantial. See Carr, 80 F.3d at 420.

Inconvenience to the Court and Waste of Judicial Resources

       As the Carr Court found, “some degree of inconvenience to the court” and “some waste

of judicial resources from a plea withdrawal is inevitable.” Id. at 420, 421. These factors weigh

very slightly in favor of the Government.

Likelihood of Conviction

       Related to the Court’s discussion of the evidence weighing against Ms. Zayas, and as is

apparent by the advice of Ms. Zayas’s previous attorneys (see, e.g., Doc. 189 at 2:20–3:11, 5:9–

16), there is a strong likelihood that Ms. Zayas faces conviction of the charged crime.



                                                13
      Case 2:12-cr-00944-RB           Document 235      Filed 04/10/18     Page 14 of 14




IV.    Conclusion

       Mr. Zayas’s November 2017 interview does not constitute “new evidence.” Even if the

Court were to consider the interview as new evidence, Ms. Zayas has not asserted a credible

claim of legal innocence. Moreover, the Court reiterates its previous findings that Ms. Zayas’s

guilty plea was knowing and voluntary and has a sufficient factual basis. Thus, there is no need

to correct clear error or prevent manifest injustice.

       In short, Ms. Zayas is still unable to provide a “fair and just” reason for withdrawing her

guilty plea. The Court will deny the motion.

       THEREFORE,

       IT IS ORDERED that Ms. Zayas’s Motion to Reconsider Motion to Withdraw Guilty

Plea (Doc. 220) is DENIED.



                                               ___________________________________
                                               ROBERT C. BRACK
                                               UNITED STATES DISTRICT JUDGE




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